          Case
           Case:
               1:12-cv-00196-RCT
                 18-71748, 08/27/2018,
                                   Document
                                       ID: 10991081,
                                              26 Filed
                                                     DktEntry:
                                                       08/27/183, Page
                                                                  Page 11 of
                                                                          of 22



                      UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                       AUG 27 2018
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
DAVID R. HINKSON,                                 No.   18-71748

                  Applicant,

 v.                                               ORDER

UNITED STATES OF AMERICA,

                  Respondent.

Before:       FARRIS, HAWKINS, and BYBEE, Circuit Judges.

      The application for authorization to file a second or successive 28 U.S.C.

§ 2255 motion contends that the district court imposed consecutive sentences on

the applicant’s convictions for solicitation to commit murder under 18 U.S.C.

§ 373 because it believed those convictions qualified as crimes of violence. The

applicant contends that he is entitled to resentencing because solicitation to commit

murder no longer qualifies as a crime of violence in light of Sessions v. Dimaya,

138 S. Ct. 1204 (2018). We need not determine whether solicitation to commit

murder remains a crime of violence after Dimaya or whether Dimaya is

retroactively applicable under the reasoning set forth in Welch v. United States,

136 S. Ct. 1257 (2016). The decision to run sentences concurrent or consecutive is

within the district court’s discretion and governed by 18 U.S.C. § 3584(a), which

does not contain language implicated by Dimaya. The application is, therefore,
        Case
         Case:
             1:12-cv-00196-RCT
               18-71748, 08/27/2018,
                                 Document
                                     ID: 10991081,
                                            26 Filed
                                                   DktEntry:
                                                     08/27/183, Page
                                                                Page 22 of
                                                                        of 22



denied. The applicant has not made a prima facie showing under 28 U.S.C.

§ 2255(h) of:

      (1) newly discovered evidence that, if proven and viewed in light of the
      evidence as a whole, would be sufficient to establish by clear and
      convincing evidence that no reasonable factfinder would have found the
      movant guilty of the offense; or

      (2) a new rule of constitutional law, made retroactive to cases on collateral
      review by the Supreme Court, that was previously unavailable.

      Any pending motions are denied as moot.

      No further filings will be entertained in this case.

      DENIED.




                                          2                                     18-71748
